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                   EXHIBIT C
Case 2:25-cv-11026-JJCG-EAS ECF No. 9-3, PageID.1636 Filed 05/01/25 Page 2 of 2




                INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION

                         AMERICAN ARBITRATION ASSOCIATION


 Bosch Automotive Service Solutions, Inc.,                   Case No. 1-21-0016-2306

                Claimant,                                    Arbitrator Thomas W. Cranmer

 v.

 Collision Sciences, Inc.,

                Respondent.


                RESPONDENT'S CERTIFICATE OF COMPLIANCE
 ______________________________________________________________________________

        NOW COMES RESPONDENT, Collision Sciences, Inc., and pursuant to the arbitrator's Final

 Award dated January 10, 2025 (the "Award"), hereby certifies that it has taken the steps ordered in

 paragraphs (1)-(3) of the Award.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is accurate

 to the best of my knowledge, understanding and belief. Executed on February 20
                                                                             __, 2025


                                                  /s/   Collision Sciences, Inc.

                                                  By:_____________________

                                                         CEO
                                                  Its: _____________________
